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DAVID L. ANDERSON (CABN 149604)

United States Attorney
HALLIE HOFFMAN (CABN 210020)
Chief, Criminal Division - f £
BRIGGS MATHESON (CABN 291287) j Ep
Assistant United States Attorney Uy 2 7 20
Sus 19
450 Golden Gate Avenue, Box 36055 None us SOO,
San Francisco, California 94102-3495 VOtsrayey Her oS
Telephone: (415) 436-6844 OF “FOF

FAX: (415) 436-7234
Briggs.Matheson@usdoj.gov

Attorneys for United States of America
UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

Hernandez, a/k/a Jose Valle-Rodriguez,
a/k/a Jose Rodriguez-Valle, a/k/a Jose
Eleodeoro Rodriguez, a/k/a Jose
Heleodoro Valle-Rodriguez, a/k/a Jose )
Eliodoro Valle-Hernandez, a/k/a Jose)
Eliodoro Valle-Rodriguez, a/k/a Jose
Valle-Hernandez, a/k/a Jose Baez-
Rodriguez, a/k/a Miguel Hector
Martinez, a/k/a Hector Miguel
Martinez, a/k/a Cristian Cruz-Cruz,

SAN FRANCISCO DIVISION
) CASE NO. 19-CR-279-CRB
UNITED STATES OF AMERICA,
\ [PROPOSED] ORDER GRANTING PETITION
Plaintiff, FOR WRIT OF HABEAS CORPUS AD
) PROSEQUENDUM
v. )
)
JOSE RODRIGUEZ, )
a/k/a Levin David Rodriguez- )
)
)

Defendant.

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Upon motion of the United States of America, and good cause appearing therefore,
IT IS HEREBY ORDERED that the request of the United States for issuance of the Writ of Habeas

Corpus Ad Prosequendum requiring the production of the defendant identified in the above caption,

[PROPOSED] ORDER
CASE NO. 19-CR-279-CRB

 
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JOSE RODRIGUEZ, before this Court on the date stated in the Writ submitted, and requiring that the

defendant be present for all future hearings, is granted, and the Writ shall be issued as presented.

 

BNW VAS
DATED: S | \ Gy

HON. LAUREL BEELER
United States Magistrate Judge

[PROPOSED] ORDER
CASE NO. 19-CR-279-CRB

 
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WRIT OF HABEAS CORPUS AD PROSEQUENDUM

TO: DONALD M. O’KEEFE, United States Marshal for the Northern District of California and/or
any of his authorized deputies, and the Warden, Jailer, or other Official of the U.S. Penitentiary

Lompoc, and/or any of his/her authorized deputies:

Pursuant to the foregoing petition and order, you are directed to produce the body of JOSE
RODRIGUEZ, a/k/a Levin David Rodriguez-Hernandez, a/k/a Jose Valle-Rodriguez, a/k/a Jose
Rodriguez- Valle, a/k/a Jose Eleodeoro Rodriguez, a/k/a Jose Heleodoro Valle-Rodriguez, a/k/a Jose
Eliodoro Valle-Hernandez, a/k/a Jose Eliodoro Valle-Rodriguez, a/k/a Jose Valle-Hernandez, a/k/a Jose
Baez-Rodriguez, a/k/a Miguel Hector Martinez, a/k/a Hector Miguel Martinez, a/k/a Cristian Cruz-Cruz
(hereafter “JOSE RODRIGUEZ”), BOP Register No. 02650-461, who is in the custody of United States
Penitentiary Lompoc (“USP Lompoc”), before the Honorable LAUREL BEELER, United States
Magistrate Judge for the Northern District of California, located at the San Francisco Federal
Courthouse, located at 450 Golden Gate Avenue, 15th Floor, San Francisco, California 94102, on July
15, at 10:30 a.m. on the charges filed against defendant in the above-entitled Court and further to
produce said defendant at all future hearings as necessary until the termination of the proceedings in this
Court.

Should the current custodian release JOSE RODRIGUEZ from its custody, you are directed that
the defendant immediately be delivered and remanded to the U.S. Marshals for the Northern District of
California and/or his authorized deputies under this Writ.

JUN 21 2019 SUSAN Y. SOONG

DATED: CLERK, UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

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DEPUTY CLERK ~— MARK J. JENKINS

 

 

WRIT OF HABEAS CORPUS AD PROSEQUENDUM
CASE NO. 19-CR-279-CRB

 
